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                          UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,           CR. NO. 2:96-350-05 WBS
13                                               2:15-cv-01367-WBS
               Plaintiff/Respondent,
14                                       MEMORANDUM AND ORDER RE:
          v.
                                         DEFENDANT’S MOTION TO VACATE,
15                                       SET ASIDE, OR CORRECT SENTENCE
     MADY CHAN,
                                         PURSUANT TO 18 U.S.C § 2255
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               Defendant/Petitioner.
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21                Petitioner Mady Chan moves to vacate, set aside, or
22   correct his sentence pursuant to 28 U.S.C. § 2255 on the grounds
23   that his guilty plea was entered unknowingly and involuntarily as
24   a result of ineffective assistance of counsel.        (Docket No. 932.)
25   Petitioner also requests an evidentiary hearing and appointment
26   of counsel to represent him.      (Id.)   The government opposes.
27   (Docket No. 995.)
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1    I.   Factual & Procedural History

2              On August 2, 1996, petitioner Mady Chan and numerous

3    codefendants were charged with various money-laundering

4    violations in a sixty-seven count Indictment.        (Indictment

5    (Docket No. 1).)    On July 16, 1998, the government filed a 130

6    count Superseding Indictment against petitioner.         (Superseding

7    Indictment (Docket No. 98).)     Timothy E. Warriner was initially

8    appointed as petitioner’s advisory counsel and later, at

9    petitioner’s request, as counsel of record.        (Gov’t Opp’n Ex. 8,

10   Warriner Decl. at 1 (Docket No. 995-8).)

11             On January 28, 2014, this court issued an Order to Show

12   Cause why the case should not be dismissed as against the

13   remaining defendants for lack of prosecution.        (Docket No. 858.)

14   This court observed that it had been seventeen years since the

15   Indictment was filed in the matter and, so far as the court could

16   determine, no effort had been made to bring the matter to trial

17   and there had not been any finding of excludable time under the

18   Speedy Trial Act.    (Id.)

19             On February 11, 2014, petitioner mailed to the

20   government a motion to dismiss based on Speedy Trial violations
21   that he planned to file pro se.      (Pet’r’s Mem. at 3 (Docket No.

22   932); Warriner Decl. at 2.)     Petitioner withdrew this motion

23   before it was docketed upon consulting with his attorney and

24   receiving a draft plea agreement from the government.         (Warriner

25   Decl. ¶ 7.)

26             On February 24, 2014, petitioner entered pleas of
27   guilty to counts 15, 19, 31, 32, 37, 39, 122, and 123 of the

28   Superseding Indictment pursuant to Federal Rule of Criminal
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1    Procedure 11(c)(1)(C).    (Gov’t Opp’n Ex. 5, Plea Agreement.)         The

2    plea was a “package offer” in which the government agreed to

3    dismiss the charges against petitioner’s wife, Linda Chan,

4    mother, Lizhen Chen, father, Bao Qin Chen, and relative, Jimmy

5    Leung, with prejudice.    (Id. at 3.)     Petitioner agreed to forfeit

6    a house and other assets obtained with illicit funds but,

7    according to Warriner, petitioner arranged for “a resolution of

8    the forfeiture that would leave a home for his father.”           (Id. at

9    3-4; Warriner Decl. ¶ 4.)     The government also dismissed the

10   remaining charges against petitioner.       (Id. at 4.)    On July 21,

11   2014, petitioner was sentenced to 88 months to be served

12   concurrently with his Northern District of California sentence of

13   640 months.    (Id. Ex. 7 at 5.)

14             On February 27, 2015, codefendants Paul Minh Chan, Lisa

15   Le Chan, John That Luong, and Ping Sherry Chan filed a motion to

16   dismiss the Superseding Indictment for Speedy Trial violations.

17   (Docket No. 914.)    This court granted defendants’ motion and

18   dismissed the Superseding Indictment with prejudice.         (Docket No.

19   918.)

20   II.   Waiver
21             In his plea agreement, petitioner waived his right to

22   file a motion based on statutory due process speedy trial claims

23   and his right to file a motion under 28 U.S.C. § 2255 or § 2241

24   collaterally attacking his conviction or sentence.         (Gov’t Opp’n

25   Ex. 5, Plea Agreement at 9.)     This court conducted a full Rule 11

26   colloquy with defendant during his change of plea hearing on
27   February 24, 2014, and plaintiff acknowledged that he understood

28   he was waiving his right to collaterally attack his conviction or
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1    sentence.    (Gov’t Opp’n Ex. 6, Tr. of Change of Plea at 13

2    (Docket No. 995-6).)    All of that colloquy went for naught,

3    however, because this court nevertheless has jurisdiction over a

4    § 2255 petition which raises an ineffective assistance of counsel

5    claim that challenges the validity and voluntariness of the plea

6    agreement itself.    See Washington v. Lampert, 422 F.3d 864, 871

7    (9th Cir. 2005) (“[A] plea agreement that waives the right to

8    file a federal habeas petition . . . is unenforceable with

9    respect to an IAC claim that challenges the voluntariness of the

10   waiver.”).

11   III. Ineffective Assistance of Counsel

12               To prevail on a claim of ineffective assistance of

13   counsel, a petitioner must show “(1) that counsel’s performance

14   was so deficient that it fell below an ‘objective standard of

15   reasonableness’ and (2) that the deficient performance rendered

16   the results of [the] trial unreliable or fundamentally unfair.”

17   Cox v. Ayers, 588 F.3d 1038, 1046 (9th Cir. 2009) (citing

18   Strickland v. Washington, 466 U.S. 668, 688 (1984)).         The Supreme

19   Court has recognized that a claim for ineffective assistance of

20   counsel “must satisfy both prongs of [this] test in order to
21   prevail.”    Smith v. Robbins, 528 U.S. 259, 289 (2000).

22               Counsel’s performance is so deficient that it falls

23   below an objective standard of reasonableness when the behavior

24   complained of fails to meet “prevailing professional norms.”

25   United States v. McMullen, 98 F.3d 1155, 1158 (9th Cir. 1996).

26   However, judicial scrutiny of counsel’s performance is
27   deferential and the “burden is on petitioner to identify the acts

28   or omissions of counsel that are alleged not to have been the
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1    result of reasonable professional judgment.”        Cox, 588 F.3d at

2    1046.     “The court should recognize that counsel is strongly

3    presumed to have rendered adequate assistance and made all

4    significant decisions in the exercise of reasonable professional

5    judgment.”    Id.   “[S]trategic choices made after thorough

6    investigation of law and facts relevant to plausible options are

7    virtually unchallengeable.”     Strickland, 466 U.S. at 691.

8                 To demonstrate prejudice, the movant must show that

9    there is a reasonable possibility that, but for counsel’s

10   unprofessional errors, the result of the proceeding would have

11   been different.     Strickland, 466 U.S. at 694.     In the context of

12   a plea agreement, “the defendant must show that there is a

13   reasonable probability that, but for counsel’s errors, he would

14   not have pleaded guilty and would have insisted on going to

15   trial.”    Hill v. Lockhart, 474 U.S. 52, 59 (1985).

16                Petitioner argues that counsel’s performance fell below

17   the “objective standard of reasonableness” because counsel knew

18   there was a Speedy Trial violation but failed to file a motion to

19   dismiss the Superseding Indictment on this ground.         (Pet’r’s Mem.

20   at 10.)    Further, counsel allegedly advised petitioner to
21   withdraw the motion to dismiss that petitioner had begun to file

22   pro se and to instead accept the plea agreement.         (Id. at 3.)

23   Petitioner argues that his counsel believed the issues raised in

24   the motion to dismiss were without merit and this was proven to

25   be inaccurate given this court’s subsequent decision to grant

26   defendants Paul Minh Chan, Lisa Le Chan, John That Luong, and
27   Ping Sherry Chan’s motion to dismiss.       (Id. at 3 n.2.)

28   Petitioner contends that had he been properly advised about the
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1    likelihood of success on a motion to dismiss based on Speedy

2    Trial violations, he would not have pleaded guilty and would have

3    insisted on filing the motion and, if necessary, proceeding to

4    trial.   (Id. at 4.)   Petitioner pled guilty, he alleges, because

5    of his attorney’s failure to properly advise him on the strong

6    merits of a Speedy Trial violation claim.

7               Contrary to petitioner’s portrayal, the government and

8    petitioner’s former counsel, Warriner, contend that petitioner

9    was properly advised about the merits of the Speedy Trial claim

10   and knowingly and voluntarily chose to plead guilty in order to

11   protect his family.    (Gov’t Opp’n at 20; Id. Ex. 9, Special Agent

12   Dupre Decl. ¶ 5 (Docket No. 995-9); Warriner Decl. ¶¶ 3-4.)

13   Warriner testified that from the time he was appointed as

14   counsel, petitioner wanted to reach a plea agreement with the

15   government in order to ensure the charges against his family

16   members were dismissed and the forfeiture would leave a home for

17   his father.   (Warriner Decl. ¶ 4.)     Warriner not only advised

18   petitioner that if he accepted the plea bargain he would not be

19   able to make a Speedy Trial motion but also that, in his opinion,

20   the Speedy Trial motion had merit.      (Id. ¶¶ 4, 8.)
21              The lead prosecutor on this case, Assistant United

22   States Attorney William Wong, similarly stated that petitioner’s

23   concern for his family was “the motivating factor in his desire

24   to resolve the money-laundering case against him.”         (Gov’t Opp’n

25   Ex. 10, Wong Decl. ¶ 12 (Docket No. 995-10).)        Petitioner told

26   Wong he was a “dead man walking” because “he basically received a
27   life sentence for the RICO indictment” in the Northern District.

28   (Id.)    Given the futility of his situation, he wanted to resolve
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1    the money-laundering case in a manner that would guarantee the

2    protection of his parents and children.       (Id.)   He was especially

3    concerned about his wife being convicted and his children having

4    to navigate adolescence without either parent at home.            (Id. ¶

5    11; see also Dupre Decl. ¶ 5.)      Wong explained that “[e]ven after

6    discussing the issue of speedy trial, Chan continued to express

7    his desire to resolve the case in order to provide certainty that

8    the charges would be dismissed against his parents and wife.”

9    (Id. ¶ 14.)   The government argues that the fact that petitioner

10   filed a motion to dismiss based on Speedy Trial violations pro se

11   supports the testimony of Warriner and Wong that petitioner

12   clearly understood the merits of the Speedy Trial claim but

13   knowingly chose to plead guilty because this was certain to

14   protect his family.    (Gov’t Opp’n at 20.)

15             The court finds that defendant knowingly and

16   voluntarily entered into a plea agreement and was properly

17   advised by his counsel.     While petitioner and his family members

18   all had a strong chance of prevailing on a motion to dismiss for

19   Speedy Trial violations, there was nevertheless a risk that the

20   court would deny the motion and petitioner would lose the ability
21   to protect his family members.      Defendant knowingly and

22   voluntarily chose not to take that risk.       He had already been

23   given a very lengthy sentence in the Northern District and had

24   nothing to lose by pleading guilty to additional money-laundering

25   charges with a concurrent sentence.      Without having to spend any

26   additional time incarcerated, defendant was able to guarantee the
27   protection of his wife and elderly parents by pleading guilty.

28             In his § 2255 petition, petitioner fails entirely to
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1    mention that the plea agreement was a “package deal” that

2    protected his family members.      In his reply, however, he responds

3    that his family did not motivate him to plead guilty because his

4    family members’ charges would also have been dismissed for Speedy

5    Trial violations if he had been properly advised by counsel and

6    rejected the plea agreement.     (Pet’r’s Reply at 6 n.1 (Docket No.

7    1001).)   Notwithstanding what petitioner now says, he had no way

8    of knowing this with certainty when he entered into the plea

9    agreement.   The court is therefore not persuaded by his argument

10   that it defies “logic and common sense” that he entered into a

11   plea agreement in order to protect his family.        (Id.)1

12             Petitioner has failed to establish that counsel’s

13   performance fell below an objective standard of reasonableness.

14   In assisting his client in the negotiation of a plea agreement

15   rather than moving to dismiss, Warriner honored his client’s

16   desire to secure a resolution that would protect petitioner’s

17   family.   Accordingly, the court must deny petitioner’s claim of

18   ineffective assistance of counsel.

19   II.   Appointment of Counsel & Request for an Evidentiary Hearing

20             Petitioner requests an evidentiary hearing to determine
21   the factual allegations in support of his motion and that the

22   court appoint counsel to represent him in these proceedings.

23   (Pet’r’s Mem. at 14.)

24             Under § 2255, the court must grant a hearing “[u]nless

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               Petitioner also argues that there was a “danger of
26   coercion” from third-party threats and promises because he pled
     guilty in order to obtain the dismissal of charges against third-
27   party relatives. (Pet’r’s Reply at 3.) However, petitioner does
     not allege any facts to support the suggestion of coercion or
28   threats. Accordingly, the court finds this argument meritless.
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1    the motion and the files and records of the case conclusively

2    show that the prisoner is entitled to no relief.”         28 U.S.C.

3    § 2255(b).   The court may therefore deny a hearing if, “viewing

4    the petition against the record, its allegations do not state a

5    claim for relief or are so palpably incredible or so patently

6    frivolous or false as to warrant summary dismissal.”         Baumann v.

7    United States, 692 F.2d 565, 571 (9th Cir. 1982).         There is no

8    need for further discovery or an evidentiary hearing on any of

9    petitioner’s claims.    None of petitioner’s claims suggest counsel

10   failed to meet “prevailing professional norms” during plea

11   negotiations.   Strickland, 466 U.S. at 649.       Given that the court

12   will not hold an evidentiary hearing, the “the interests of

13   justice” do not require the appointment of counsel.         18 U.S.C.

14   § 3006(A)(a)(2)(B) (“Whenever the United States magistrate judge

15   or the court determines that the interests of justice so require,

16   representation may be provided.”); see also United States v.

17   Angelone, 894 F.2d 1129, 1130 (9th Cir. 1990) (“Prisoners do not

18   have a constitutional right to counsel when mounting collateral

19   attacks upon their convictions.”).

20             IT IS THEREFORE ORDERED that petitioner’s motion to
21   vacate, set aside, or correct his sentence be, and the same

22   hereby is, DENIED;

23             IT IS FURTHER ORDERED that petitioner’s motion for an

24   evidentiary hearing and appointment of counsel be, and the same

25   hereby are, DENIED.

26   Dated:   February 10, 2016
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